Case 18-50348-btf7   Doc 26   Filed 10/12/18 Entered 10/12/18 14:06:23   Desc Main
                              Document      Page 1 of 4
Case 18-50348-btf7   Doc 26   Filed 10/12/18 Entered 10/12/18 14:06:23   Desc Main
                              Document      Page 2 of 4
Case 18-50348-btf7   Doc 26   Filed 10/12/18 Entered 10/12/18 14:06:23   Desc Main
                              Document      Page 3 of 4
Case 18-50348-btf7   Doc 26   Filed 10/12/18 Entered 10/12/18 14:06:23   Desc Main
                              Document      Page 4 of 4
